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N THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA

 

CENTRAL DIVISION
)
MIRNA NAVARIJO, )
- ) Case No. 11-

Plaintiff, )
v
)

TYSON FRESH MEATS, INC., ) NOTICE OF REMOVAL
Defendant.

 

TO: THE JUDGES OF THE UNITED STATES DISTRICT COURT FOR
THE SOUTHERN DISTRICT OF IOWA

The above-named Defendant, Tyson Fresh Meats, Inc., hereby gives notice of
removal of Case No. LACV 037089 from the Iowa District Court in and for Dallas
County to the United States District Court for the Southern District of Iowa, Central
Division. In support thereof, Defendant states as follows:

1. On or about August 25, 2011, a civil action was commenced in the Iowa
District Court in and for Dallas County captioned Mirna Navarijo v. Tyson Fresh Meats,
Inc., Dallas County Case No. LACV037089. True and correct copies of the Original
Notice and Petition at Law and Jury Demand are attached hereto as Exhibit A.

2. Defendant was served with the Original Notice and Petition at Law and
Jury Demand on September 1, 2011.

3. In her Petition, Plaintiff asserts a cause of action arising under the

Americans with Disabilities Act, 42 U.S.C. § 12101, et seq. Jurisdiction over actions
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arising under the laws of the United States is vested in this Court pursuant to 28 U.S.C. §
1331 and 28 U.S.C. § 1441.

4, Plaintiff is a citizen of lowa. In addition, Defendant Tyson Fresh Meats,
Inc., is incorporated in the State of Delaware with its principal place of business in a state
other than Iowa. The parties are citizens of different states and wholly diverse.
Jurisdiction over actions between citizens of diverse states is vested in this Court
pursuant to 28 U.S.C. § 1332 and 28 U.S.C. § 1441.

5. Plaintiff seeks damages in excess of $75,000.

6. Defendant removed this action within thirty (30) days of being served the
Original Notice and Petition at Law and Jury Demand. This Notice of Removal is timely |
filed pursuant to 28 U.S.C. § 1446.

Respectfully submitted,

  

By

 

“Michael R. Reck, lead counsel
Kelsey J. Knowles

666 Walnut Street, Suite 2000
Des Moines, IA 50309-3989
Telephone: (515) 283-4645
Facsimile: (515) 558-0645

E-mail: mrreck@belinmccormick.com
kjknowles@belinmecormick.com

ATTORNEYS FOR DEFENDANT TYSON
FRESH MEATS, INC.
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PROOF OF SERVICE

The undersigned certifies that the foregoing instrument was
served upon the parties to this ey serving a copy upon each

of the attorneys listed below on 2011, by
OO U.S. Mail C) FAX

£1 Hand Delivered QO) Electronic Mail

[1 FedEx/ Overnight Carrier CM/ECF

Patrick V. Waldron

Benjamin R. Merrill

Patterson Law Firm, LLP

505 Fifth Avenue, Suite 729
Des Moines, Iowa 50309-2390

Attorneys for Plaintiff ‘
Signature: ashanay Lire nd

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IN TRE FOWA OLSTRICT COURT FOR DALLAS COUNTY

 

MIRNA NAVARIJO, LAW NO, LAC O24 o89
Plaintiff,
ve. ORIGENAL NOTICE

TYSON FRESH MEATS, INC.,

Defendant.

 

 

 

 

TO THE ABOVE~NAMED DEFENDANT: Tyson Fresh Meats, Inc.

You are notified that a Fétition and Jury Demand has been
filed in the office of the clerk of this court naming you as the
Defendant in this action. A copy of the Petition (and any
documents filed with it) is attached to this notice. The names
and address of Plaintiff's attorneys are Patrick V. Waldron and
Benjamin R, Merrill, 505 5th Avenue, Suite 729, Des Moines, IA
50309, The attorneys’ phone number is (515) 283-2147 and
facsimile number is (515) 283-1002.

You must serve a motion or answer within 20 days after
service of this original notice upon you and within a reasonable
time thereafter file your motion or answer, with the Clerk of
Cours for Poik County, at the county courthouse in Des Moines,
Iowa. If you do net, judgment by default may be rendered
against you for the relief demanded in the petition.

Tf you require the assistance of auxiliary aids or services
to participate in couxt because of a disability, immediately
Cali your district ANA coerdinater at 515~286-3394. (If you are
hearing impaired, Gall Relay Iowa TTY at 1~-800+735-2942),

  

i CLERK OF COURT
Dallas County Courthouse,
Adel, Towa

Important: You are advised tea seak Legal advice to protect your
interasts.

EXHIBIT

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IN THE IOWA DISTRICT COURT FOR DALLAS COUNTY jn =
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wo eh .
MIRNA NAVARIJO, LAW yo LACV 037089 ay -— F:
Plaintifé, eo |e
a
vs. PETITION AND JURY DEMAND ~~
TYSON FRESH MEATS, INC.,
Defendant.
COMES NOW Plaintiff, Mirna Navarijo, and for her cause of
action against Defendant, Tyson Fresh Meats, Inc., states as
follows:
1.

2

At all times relevant hereto, Plaintiff, Mirna
Navarijo, has been a resident of Perry, Dallas County, Iowa,

At ali times relevant hereto, Defendant, Tyson Fresh

Meats Inc., has been an entity incorporated in the State of

3.

Arkansas, licensed to do business in the State of Iowa, and
Specifically conducting business in Perry, Dallas County, Iowa.

Plaintiff was an employee of Defendant from October
1998, through June 12, 2010.
4.

During her employment at the Defendant, Plaintiff
5.

sustained injuries arising out of and in the course of his
employment with Defendants.

Claimant’s injuries include injuries to her right
elbow, right shoulder, back, neck, and bilateral upper
extremities.
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6, Additionally, Plaintiff had another injury/condition
which required her to take frequent bathroom breaks in order to
address her symptoms.

7. On dune 16, 2009, Plaintiff's treating physician
issued a medical report indicating that Plaintiff had a
workplace restriction requiring her to “drink plenty of water
and take bathroom breaks frequently.” This restriction was
listed by Plaintiff’s physician for a diagnosis of back pain.

8, On June 12, 2010, Defendants terminated Plaintiff's
employment after accommodating Plaintiff’s restrictions for a
long period of time.

9. Plaintiff filed a complaint with the Iowa Civil Rights
Commission on or about December 29, 2010.

10. The complaint was cross-filed with the Equal
Employment Opportunity Commission.

ll. On May 28, 2011, Plaintiff received a Right to Sue
letter from the Iowa Civil Rights Commission. ICRC Letter
{Exhibit 1).

12. On June 15, 2011, Plaintiff received a Right to Sua
letter from the Equal Employment Opportunity Commission. EEOC
Letter (Exhibit 2).

13. The amount at issue in this matter exceeds the

jurisdictional minimum.
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COUNT = -~ VIOLATION OF THE IOWA CIVIL RIGHTS ACT
(IOWA CODE § 216.6)

14. Plaintiff hereby incorporates paragraphs 1 through 13
of this Petition.
15. Plaintiff was/is disabled within the meaning of the
Americans with Disabilities Act.
16. Plaintiff was qualified to perform the essential
functions of her job at Defendant.
17. Plaintiff's employment was terminated because of her
disability.
18, Plaintiff has suffered damages as a result of the
termination of his employment, including, but not limited to:
{a) lost past earnings:
(b) lost future earnings;
{¢) loss of earning capacity;

(d) mental pain and suffering.

COUNT IT - VIOLATION OF THE AMERICANS WITH DISABILITIES ACT

(42 U.S.C. § 12101 et seq.)

13. Plaintiff hereby incorporates paragraphs 1 through 18
of this Petition.
20. Plaintiff has suffered damages as a result of the
termination of her employment, including, but not limited to:
(a) lost past earnings;

(b) lost future earnings;
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(¢) loss of earning capacity:
(dq) mental pain and suffering.

COUNT III _— TERMINATION AND VIOLATION OF PUBLIC POLICY

21. Plaintiff hereby incorporates paragraphs 1 through 20
of this petition.

22. It is the public policy of the State of Iowa that
employees not be terminated or otherwise retaliated against due
to a disabling condition.

23. At the time of Plaintiff's termination, Plaintiff had
such a condition, which had been communicated by Plaintiff's
physician to Defendant in her applicable medical report.

24. Defendant accommodated Plaintiff's restrictions for a
given amount of time,

25. However, at some point Defendant chose to no longer
accommodate Plaintiff’s medical condition and created a
workplace environment in which it was impossible for Plaintiff
to properly address her condition without receiving a reprimand
from her employer.

26. Accordingly, Plaintiff was eventually terminated on
June 12, 2010 for “rules violations.”

27. Plaintiff has suffered damages as a result of the
termination of her employment, including, but not limited to:

(a) lost past earnings;

(6b) lost future earnings;
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{c) loss af earning capacity;
(d) mental pain and suffering.

COUNT IV - BUNITIVE DAMAGES

28. Plaintiff hereby incorporates paragraphs 1 through 27
of this petition.

29. In terminating Plaintiff’s employment, Defendants
acted with malice and reckless indifference toward Plaintiff's
rights, out of i11 will or hatred toward Plaintiff.

30. Defendants’ actions constituted a willful and wanton
disregard for Plaintiff's rights.

31. Punitive damages are warranted and proper on all

counts.

JURY DEMAND
32. Pursvant to Towa Rule of Civil Procedure 1.902,

Plaintiff requests a trial by jury on all counts.

WHEREFORE, Plaintiff, Mirna Navarijo, prays for judgment
against Defendant for an amount that will fully compensate
Plaintiff, together with interest thereon, for the costs of this
action, for punitive or exemplary damages, and for such other

relief as the Court deems proper.
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Original filed.

By

By

PATTERSON LAW PIRM, L.L.P.
505 Fifth Avenue, Suite 729
Des Moines, IA 50309-2390
Telephone: 515-283-2147
Facsimile: 515-283-1002
E-mail:

  

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Pak sitk TEA ATO008232
LE, LL

Benjamin R. Merrill “AT0009789

ATTORNEYS FOR PLAINTIFF
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(Letter of Right-To-Sue) MAY 98 2on

 

To: From:

MS. MIRNA NAVARNO
1613 OTLEY AVE
PERRY, IA 50220

lowa Civil Rights Commission
Grimes State Office Building
400 E. 14" Street

) Des Moines, lowa 50319

Complaint CP# 12-10-60073 EEOC# 26A-2011-00263C

 

 

 

 

 

 

This is your Administrative Release (Right-To-Sue) Letter issued pursuant to lowa Code Section
216.16 and 161 lowa Administrative Code Section 3.10. itis issued pursuant to the Complainant's

request.

The following conditions have been met:

1. The complaint was timely filed with the lowa Civil Rights Commission (ICRC) as provided in
lowa Code Section 216.15(12);

2. Sixty (60) days have expired since the complaint was filed with ICRC;
3. None of the exceptions set forth in Administrative Rule 161 — 3.10(4) are applicable.

With this Administrative Release, the Complainant has the right to commence an action in state
district court. That action must be commenced within ninety (90) days of the issue date 5/27/2011.
The Right-to-Sue Letter is not a finding by ICRC on the merits of the charge. ICRC will take no

further actions in this matter.

A copy of this Administrative Release/Letter of Right-To-Sue has been sent to the Respondent(s) and
counsel(s) as shown below. The Code allows any party to obtain a complete copy of the case file
after a Right-To-Sue has been issued. Requests for copies should be directed to Marcia Coverdale

at ICRC,

The lowa Civil Rights Commission
Phone: (515) 281-4121
FAX: (515) 242-5840

cc: File

PATRICK WALDRON, Complainant's Attorney
TYSON FRESH MEATS, INC.

TYSON FOODS, INC.

JIMMIE FRY
BRIAN JACKSON
IGRGIS36 (24) ’ PLAINTIFE’S
{

 
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EEOC Fem 161-0 (1109) CASE 4:11-cyDO428uRE ENPAM mea QDePeRtTdnitvied OMegidd Page 12 of 13

NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)

Milwaukes Area Office
310 Wost Wisconsin Ave
Suite 800

Milwaukee, WI 53203

 

To: Mirna Navarijo From:
1613 Odloy Ave
Porry, lA §0220

Oa dehalf of person(s) aggrioved whose idontily is
CONFIDENTIAL (29 CFR $1601, 7(a))

 

EEOC Charge No. EEOC Represeniative Talephona Ne,
Roxanne M, Kitzman,
26A-2071-00263 State & Local Coordinator (414) 297-1112

 

{Soe also the additional information enclosed with this form.)

NOTICE TO THE PERSON AGGRIZVED:

Title VI of the Civil Rights Act of 1964, the Amarleans with Disabilities Act (ADA), or the Genatle Information Nondiserlmination
Act (GINA): This is your Notice of Right to Suc, issued undor Title VII, the ADA or GINA based on the abave-numbered charge. It has
been issued at your requast, Your lawsuit under Title Vit, the ADA or GINA must be filed in a faderal or state court WITHIN 90 DAYS
of your receipt of this notice; of your right to sue based on this charge will be fost. (The time timit for filing suit based on a claim under

state law may be differant)
More than 180 days have passed since the filing of this charge.

Less than 180 days have passed since the filing of this charge, but! have determined that itis unlikely that the EEOC will
bo able to complate its administrative processing within 180 days from the filing of this charac.

The EEOC is terminating its processing of this charge.

UE AO

The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the change, In this regard, the paragraph markod bolow appllas to

your case:
The EEOC is closing your case. Therefore, your lawsuit under the ADEA must bo filed in fodoral or state court WITHIN
90 DAYS of your reccipt of this Notice. Otherwise, your right to sua based on the abave-numberad charge will be lost.

| The EEOC is coniinulng its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
you may file suit in federal or state court under the ADEA at this time,

Equal Pay Act (EPA): You already havo the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for

any violations that occurrad mora than 2 yoars (3 years) bofore you file sult may not bo collectiblo,

if you file suit, based on this charge, please send a copy of your court complaint to this office.

 

 

On
ante
_Enelosures(s) John P, Rowe, {Date Mailed)
Pirector
cc: TYSON FRESH MEATS
Attn: Human Rosoures Managor
13500 1 Court
Porry, iA 50220

Patterson Law Firm, LLP
Attn: BenJamin R. Merrill PLAINTIFE’S

505 5th Ave Suite 729
Des Moines, IA 50309 i EXHIBIT

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Fenton iigacase 4:11-cv-00428-REL-RAW Document 1 Filed 09/20/11 Page 13 of 13
INFORMATION RELATED TO FILING SUIT
UNDER THE Laws ENFORCED BY THE EEOG

{This information relates to filing suit in Federal or Stete court under Federal law,
If you also plan to sue claiming violations of State taw, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

___ Title Vil of the Civil Rights Act, the Americans with Disabilities Act (ADA),
PRIVATE SUIT RIGHTS the Genetic Information Nondiscrimination Act (GINA), or the Age

Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a recerd of this date. Once this 90-
day period is over, your right te sue based on the charge referred to In this Notice will be lost. If you intend to
consult an attorney, you should do so promptly, Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in 2 timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction, (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is nat enough. You must file a “complaint” that contains a short
statement of the facts of your case which shows that you are entitled to relief. Your suit may include any matter
alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters alleged in
the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some
cases can be brought where relevant employment records are kept, where the employment would have been, or
where the respondent has its main office. If you have simple questions, you usually can get answers from the
office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint or

make legal sirategy decisions for you,

PRIVATE SUITRIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed In court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible, For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 — not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
sult is separate from the 90-day filing period under Title Vil, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VI, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within $0 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title Vil, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistan¢e must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relleve you of the requirement to bring sult within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE -- All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case, Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be

made within the next 90 days.)
iF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
